Case 1:04-cr-10061-.]DT Document 168 Filed 06/07/05 Page 1 of 2 Page|D 203

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FoR THE WESTERN DlsTRIcT op TENNESSEE HGBEHT a
EASTERN DIVlsloN CLE;;;K U_'S WD‘§HOL!O
UNITED sTATEs oF AMERICA
vs CR No. 1:04-10061_03-T
GARY WAYNE GUEsT
0RDER oN CHANGE oF PLEA

 

This cause came on to be heard on June 6, 2005 Assistant U. S. Attorney,
Victor Lee lvy, appearing for the govemrnent, and the defendant appeared in person and with
counsel, Richard L. Finney, III, who was appointed.

With leave of the Court, the defendant Withdrew the Not Guiity Plea heretofore entered
and entered a plea of GUILTY as charged in Count 1 the Indictment.

This case has been set for sentencing on Friday, September 2, 2005 at 8:30

The defendant is remanded to the custody of the United States Marshal.

IT IS SO ORDER_ED.

/5-91+4/1

J D. TODD
ED STATES '\DISTRICT JUDGE

MWS;

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This notice confirms a copy of the document docketed as number 168 in
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Richard L. Finney

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Honorable J ames Todd
US DISTRICT COURT

